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lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

CHRISTINE DEENER, et al,,

 

Plaintiffs,

v. No. 03-2255-B/A

KINDRED HEALTHCARE, INC., et al.,

Defendants.

 

ORDER AFFIRMING DECISION OF THE MAGISTRATE JUDGE

 

On March 7, 2005, Magistrate Judge S. Thomas Anderson entered an order granting the
motion of the Defendants to reconsider order oi`magistrate judge filed on September 14, 2004 and
granting the motion ofthe Plaintiffs to compel filed on Septernber 29, 2004. Following entry ofthe
order, objections were filed by the Defendants to which the Plaintiffs have responded Upon a
review ofall ofthe relevant pleadings, the Court concludes that the magistratejudge's findings were
neither clearly erroneous nor contrary to law. E Fed. R. Civ. P. 72(a); LR'/`Z. l (g)(l), Local Rules
of the U.S. Dist. Ct. for the W. Dist. ol" Tenn. Accordingly, the Defendants’ objections are
OVERRULED and the magistrate judges order is AFFlRl\/IED.

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IT IS SO ORDERED this __ day oi"l\/lay, 2005.

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.r A BREEN \
Nir o srArEs DisTRiC'r JUDGE

 

Th!s document entered on the docket sheet In compl|anca

with Hu!e 58 and/or 79(a) FRCP on 512 ’@552

 

   

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Honorable .l. Breen
US DISTRICT COURT

